Case 3:16-cV-02377-D Document 1-3 Filed 08/15/16 Page 1 of 51 Page|D 13

E)<hibit A

Case 3:16-cV-02377-D Document 1-3 Filed 08/15/16 Page 2 of 51 Page|D 14

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

ROCKBROOK REALTY, LTD. (10561 §

GOODNIGHT LANE), §

§

Plaintiff, §

§

vs. §
§ CIVIL ACTION NO. 3116-CV-02377

THE TRAVELERS LLOYDS §

INSURANCE COMPANY AND BRYAN §

JONES, §

§

Defendants. §

EXHIBIT A
1. Index of All Documents Filed in the State Court Action
2. Docket Sheet in the State Court Action
3. Docurnents filed in the State Court Action

a. Plaintiffs’ Original Petition
Filed: June 13, 2016

b. Court’s Notice Of Dismissal for Want Of Prosecution
Filed: July 22, 2016

c. Defendants’ Answer to Plaintift’s Original Petition
Filed: August 8, 2016

d. Court’s Notice of Dismissal for Want of Prosecution
Signed: August 9, 2016

4814-3000-3766V1

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E)<hibit A-l

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IN THE IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

ROCKBROOK REALTY, LTD. (10561 §

GOODNIGHT LANE), §

§

Plaintiff, §

§

vs. §
§ CIVIL ACTION NO. 3:16-CV-02377

THE TRAVELERS LLOYDS §

INSURANCE COMPANY AND BRYAN §

JONES, §

§

Defendants. §

INDEX OF DOCUMENTS FILED IN STATE COURT ACTION

1. Plaintift"s Original Petition
Filed: June 13, 2016

2. Court’s Notice of Dismissal for Want of Prosecution
Filed: July 22, 2016

3. Defendants’ Answer to Plaintiff’S Original Petition
Filed: August 8, 2016

4. Court’s Notice of Dismissal for Want of Prosecution
Signed: August 9, 2016

4848~8650-3478V1

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E><hibit A-2

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DC-16-07283 - ROCKBROOK REALTY, LTD. (10561 GOODN|GHT LANE) VS. THE
TRAVELERS LLOYDS |NSURANCE COMPANY, et al

Case Number: DC-16-07283
File Date: 06/13/2016
Case Status: OPEN

PLA|NT|FF 1 ROCKBROOK REALTYl LTD. (10561
GOODN|GHT LANE)

DEFENDANT : THE TRAVELERS LLOYDS |NSURANCE
COMPANY
Address:
BY SERV|NG: CORPORAT|ON SERV|CE COMPANY
211 EAST 7TH STREET, SU|TE 620
AUST|N TX 78701

DEFENDANT : JONESl BRYAN
Address:

P.O. BOX 660452

DALLAS TX 78266

Court: 14th District Court
Case Type: CNTR CNS|V|R CO|V| DEBT

Active Attorneys
Lead Attorney:
WHYTE, MARC K

Retained
Work Phone: 210-582-0220@

Fax Phone: 210-582-0231@

Active Attorneys
Lead Attorney:
HOLBROOK l||, JAMES W

Retained
Work Phone: 214-742-3000@

Fax Phone: 214-760-8994@

Active Attorneys
Lead Attorney:
HOLBROOK |||, JAMES W

Retained
Work Phone: 214-742-3000@

Fax Phone: 214-760-8994(§

06/13/20'16 NEW CASE F|LED (IS])CA) - C|V|L

06/13/2016 OR|G|NAL PET|T|O
10561 Rockbrook Petition.pdf
Comment: Petition

Civi|Case|nfoSheet - 10561.pdf

Comment: Civi| Cover Sheet

06/13/2016 JURY DEI\/|AND
07/05/2016 REQUEST FOR SERV|CE

Comment: Letter

07/05/2016 lSSUE C|TAT|ON
lSSUE C|TAT|ON

lSSUE C|TAT|ON

07/11/2016 C|TAT|ON
Anticipated Server: CERT|F|ED IV|A|L
Anticipated Server: CERT|F|ED |VlA|L

 

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06/'| 3/2016 CASE F|L|NG COVER SHEET

07.05.16 Ltr to DC re Citation - Rockbrook (10561).pdf

Anticipated |V|ethod:
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8/15/2016

Case 3:16-cV-O2377-D Document 1-3 Filed 08/15/16 Page 7 of 51 Page|D 19

§ Actua| Server: CERT|F|ED l\/|A|L Returned: 07/19/2016
§ Comment: CERT |\/|A|L/DC****9214-8901-0661-5400-0088-8807-36***9214-8901-0661-5400-0088-8822-42
07/22/2016 NOT|CE OF D|S|\/I|SSAL FOR WANT OF PROSECUT|ON
j NOT|CE OF D|Sl\/|ISSAL FOR WANT OF PROSECUT|ON
§ Comment: |V|A|LED
08/08/2016 ORlGlNAL ANSv\/ER - GENERAL DEN|AL
§ Trave|ers - Rockbrook || (10561 Goodnight Lane) - Answer to
08/09/2016 NOT|CE OF TR|AL
NOT|CE OF TR|AL
Comment: |VlA|LED - LVL 3
08/26/2016 D|SI\/||SSAL FOR WANT OF PROSECUT|ON
Judicia| Officer: N|OYE', ER|C
Hearing Time: 11:00 A|V|
z Cance| Reason: BY COURT AD|V||N|STRATOR
09/09/2016 Schedu|ing Conference
Judicial Officer: |\/|OYE‘, ER|C
Hearing Time: 10:00 A|V|
Comment: NOT A HEAR|NG - HAS S/O BEEN RECE|VED?
06/'|3!2017 Jury Tria| - Civi|
Jury Tria| - Clvil
Judic`:a| Officer: MOYE', ER|C
Hearmg Time: 9:30 A|Vl

 

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10561 Rockbrook Petition.pdf

Civi|Case|nfoSheet - 10561.pdf

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JONES, BRYAN - C|TAT|ON

NOT|CE OF D|S|V||SSAL FOR WANT OF PROSECUT|ON
Trave|ers - Rockbrook || (10561 Goodnight Lane) - Answer to
NOT|CE OF TR|AL

Jury Trial - Civi|

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8/15/2016

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E><hibit A-3

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E)<hibit A-3-a

F|LED
DALLAS COUNTY

FEL|C|A P|TRE
D|STR|CT CLERK

David Hernandez

Case 3:16-cV-O2377-D Document 1-3 Filed 08/15/16 Page 10 of 51 PagelD 2%/13/2016 3:42;03PM
DC-16-O7283

CAUSE NO.

ROCKBROOK REALTY, LTD. § lN THE DISTRICT COURT
(10561 GooDNIGHT LANE) §
§

VS. § JUDICIAL DISTRICT
§
THE TRAVELERS LLOYDS INSURANCE §

COMPANY and BRYAN JONES § DALLAS COUNTY, TEXAS

P FF’ I P I

TO THE HONORABLE JUDGE OF SAID COURT:

ROCKBROOK REALTY, LTD. (10561 GOODNIGHT LANE), Plaintiff herein, files
this Original Petition against Defendants THE TRAVELERS LLOYDS INSURANCE COMPANY
and BRYAN JONES and, in support of Plaintiff’s causes of action, Would respectfully show the

Court the following:

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1. Plaintiff is a Texas resident Who resides and conducts business in DALLAS
County, Texas. Said property is located at: 10561 GOODNIGHT LANE~ DALLAS. TEXAS
75354.

2. THE TRAVELERS LLOYDS INSURANCE COMPANY is an insurance
company doing business in the State of Texas Which may be Served through its registered agent
for service of process in the State of Texas: Corporation Service Company, 211 East 7th Street
Suite 620, Austin TX 78701 -3218.

3. BRYAN JONES is a Texas resident Who participated in adjusting Plaintiff’s
insurance claim, and he may be served Via certified mail at: c/0 The Travelers Loyds Insurance

Company, PO Box 660452, Dallas, Texas 78266.

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11. M
4. This case is intended to be governed by Discovery Level 3.
III. §§LAIM EQB RELIEF
5. The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $200,000 but not more than $l ,000,000, including damages of
any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s fees. However, to the
extent that Defendants refuse to cooperate in discovery, make frivolous and unwarranted objections,
file needless motions, quash depositions and discovery requests without a reasonable basis, assert
unjustified or false affirmative defenses, make unwarranted special exceptions, hire individuals they
claim to be “experts” who give false opinions or testimony, produce witnesses who commit perjury,
conduct excessive discovery, or otherwise needlessly delay litigation, the costs, expenses, interest,

and attorney’s fees will likely be over $200,000 but not more than $1,000,000.

IV. JURISDI§;TION AND
XEME

6. This court has subject matter jurisdiction of this cause of action because it
involves an amount in controversy in excess of the minimum jurisdictional limits of this Court. No
diversity of citizenship exists in this matter.

7. Venue is proper in DALLAS County under Tex. Civ. Prac. & Rem. Code
§15.002(a)(l) because all or a substantial part of the events or omissions giving rise to the claim
occurred in said County. ln particular, the loss at issue occurred in this County.

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8. Plaintiff is a named insured under acommercial property insurance policy

issued by THE TRAVELERS LLOYDS INSURANCE COMPANY.
2

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9. On or about MAY 24, 2011, a storm hit the DALLAS County area, damaging
Plaintist commercial property. Plaintiff subsequently filed a claim on Plaintiff`s insurance
policy.

10. Defendants improperly denied and/or underpaid the claim.

ll. BRYAN JONES was assigned as an individual adjuster on the claim,
conducted a substandard investigation and inspection of the property, prepared a report that failed
to include all of the damages that he noted during the inspection, and undervalued the damages he
observed during the inspection.

12. BRYAN JONES’s unreasonable investigation led to the underpayment of Plaintiff`s
claim.

13. Moreover, THE TRAVELERS LLOYDS INSURANCE COMPANY and BRYAN
JONES performed an outcome-oriented investigation of Plaintiff’s claim, which resulted in a

biased, unfair and inequitable evaluation of Plaintiff’s losses on the property.

VI. CA[J§E§ OF ACTION

14. Each of the foregoing paragraphs is incorporated by reference in the following:
A. Breach of Contract (THE TRAVELERS LLOYDS INSURANCE COMPANY Only)

15. THE TRAVELERS LLOYDS INSURANCE COMPANY had a contract of
insurance with Plaintiff. THE TRAVELERS LLOYDS INSURANCE COMPANY breached the
terms of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was
damaged thereby.

18. On June 8, 2015, JL Consultants completed an Estimate of Damages which indicates
that the total replacement cost Value of the damages to Plaintiff’s commercial property is

$366,127.64. JL Consultants estimate not only included the repairs to the roof, but also included

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repairs to the exterior of the building and repairs to the interior of the building caused by storm-
related damage.

19. THE TRAVELERS LLOYDS INSURANCE COMPANY wrongfully denied
Plaintiff` s claim even though the Plaintiff had a policy to protect the property. Consequently, THE
TRAVELERS LLOYDS INSURANCE COMPANY breached the terms of the contract when it
denied the claim to the detriment of the Plaintiff,

B. Prompt Payment of Claims Statute (THE TRAVELERS LLOYDS

INSURANCE COMPANY Only)

20. The failure of THE TRAVELERS LLOYDS INSURANCE COMPANY to pay for
the losses and/or to follow the statutory time guidelines for accepting or denying coverage

constitutes a violation of Article 542.051 et seq. of the Texas lnsurance Code.

21. Plaintiff, therefore, in addition to Plaintist claim for damages, is entitled to 18%
interest and attorneys’ fees as set forth in Article 542.060 of the Texas lnsurance Code.

22. Specifically, the damage to Plaintiff’s commercial property occurred as a result of a
wind/hail storm that occurred on MAY 24, 2011. Accordingly, it has been well over sixty (60)
days since the date the damage occurred to the Plaintiff’s commercial property (in accordance with
Article 542.058 of the Texas lnsurance Code), which, in turn, causes the Plaintiff to be entitled to
18% interest and attorneys’ fees as set forth in Article 542.060 of the Texas lnsurance Code.

C. Bad Faith/DTPA (THE TRAVELERS LLOYDS INSURANCE COMPANY and
BRYAN JONES)

23. Defendants are required to comply with Chapter 541 of the Texas lnsurance
Code.
24. Defendants violated § 541 .051 of the Texas lnsurance Code by:

(1) making statements misrepresenting the terms and/or benefits of the policy.

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25. Defendants violated § 541.060 by:

(1) misrepresenting to Plaintiff a material fact or policy provision relating to
coverage at issue;

(2) failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim with respect to which the insurer’s liability had become reasonably clear;

(3 failing to promptly provide to Plaintiff a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for the insurer’s denial of a claim or
offer of a compromise settlement of a claim;

(4) failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiff or submit a reservation of rights to Plaintiff; and

(5) refusing to pay the claim without conducting a reasonable investigation
with respect to the claim;

26. Defendants violated § 541.061 by:
(1) making an untrue statement of material fact;
(2) failing to state a material fact necessary to make other statements made not

misleading considering the circumstances under which the statements were made;

(3 making a statement in a manner that would mislead a reasonably prudent
person to a false conclusion of a material fact;
(4) making a material misstatement of law; and
(5) failing to disclose a matter required by law to be disclosed
27. At all material times hereto, Plaintiff was a consumer who purchased insurance
products and services from Defendants.

28. Defendants have violated the Texas Deceptive Trade Practices Act in the

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following respects:

(1) Defendants represented that the agreement confers or involves rights,
remedies, or obligations which it does not have, or involve, or which are prohibited by law;

(2) THE TRAVELERS LLOYDS INSURANCE COMPANY failed to disclose
information concerning goods or services which was known at the time of the transaction when
such failure to disclose such information was intended to induce the consumer into a transaction that
the consumer would not have entered into had the information been disclosed;

(3) THE TRAVELERS LLOYDS INSURANCE COMPANY, by accepting
insurance premiums but refusing without a reasonable basis to pay benefits due and owing,
such as for repairs to the structure, interior architectural finishes, finish out, improvements and
betterments, business income and other extra expenses associated with damage caused by a wind/hail
storm, engaged in an unconscionable action or course of action as prohibited by the DTPA §
l7.50(a)(1)(3) in that THE TRAVELERS LLOYDS INSURANCE COMPANY took advantage of
Plaintiff` s lack of knowledge, ability, experience, and capacity to a grossly unfair degree, that
also resulted in a gross disparity between the consideration paid in the transaction and the value
received, in violation of Chapter 541 of the lnsurance Code.

29. Defendants knowingly committed the acts complained of. As such, Plaintiff is
entitled to exemplary and/or treble damages pursuant to the DTPA and Texas lnsurance Code §

541.152(a)-(b).

30. On June 4, 2015, JL Consultants completed an Estimate of Damages which indicates
that the total replacement cost value of the damages to Plaintist commercial property is
$366,127.64. JL Consultants estimate not only included the repairs to the roof, but also included
repairs to the exterior of the building and repairs to the interior of the building caused by storm-

related damage.

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31. THE TRAVELERS LLOYDS INSURANCE COMPANY wrongfully denied
Plaintiff"s claim even though the Plaintiff had a policy to protect the property. Consequently, THE
TRAVELERS LLOYDS INSURANCE COMPANY wrongfully denied the claim to the detriment of
the Plaintiff.

D. Actionable Conduct of Adjuster (BRYAN JONES)

32. With regard to the adjuster Defendant named herein, Plaintiff alleges said adjuster
made specific misrepresentations in violation of the Texas lnsurance Code, §541.002, §541.060,
§541.061 and §541.003, to include, but not limited to misrepresenting the scope of damages caused
by the covered wind/hail peril. Said Defendant adjuster also misrepresented the true cost of repairing
all of the damages caused by the storm, such as damages to the structure, interior architectural
finishes, finish out, improvements and betterments, business income and other extra expenses
associated with damage caused by a wind/hail storm. Consequently, Defendant significantly
underpaid the claim to the detriment of the insured. The named Defendant adjuster acted with actual
awareness that said Defendant adjuster was misrepresenting the true scope and cost of repair in the
estimate the Defendant adjuster prepared. Therefore, as an “Adjuster”, the Defendant adjuster meets
the definition of “person” under §541.002, and therefore liable under §541.003 et seq. of the Texas
lnsurance Code. The Defendant adjuster misled Plaintiff. The acts and omissions of the Defendant

adjuster violate 541 and §542 of the Texas lnsurance Code, for which Plaintiff seeks damages.

33. Further, the above named adjuster in this litigation committed various acts and
omissions violative of the Texas lnsurance Code to include performing an incomplete visual
inspection of the property, and failing to inspect all affected areas; said named adjuster undervalued
damages and failed to allow for adequate funds to cover the costs of repairs, and set out to deny

properly covered damages. These actions on the part of this named adjuster resulted in underpayment

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to the Plaintiff, as well as delay in PlaintifPs ability to fully repair the insured property and business.
The above named adjuster in this suit conducted an outcome-oriented investigation designed to
minimize the Plaintiff`s claim, and failed to promptly provide the Plaintiff with a reasonable
explanation of the basis of the policy in relation to the facts or applicable law, for the claim decision.
The named adj uster’s actions constitute unfair method of competition and an unfair or deceptive act

in the business of insurance.
E. Attorneys’ Fees

34. Plaintiff engaged the undersigned attorney to prosecute this lawsuit against
Defendants and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

35. Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to TEX.
CIV. PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,
presented the claim to Defendants, and Defendants did not tender the just amount owed before
the expiration of the 30th day after the claim was presented.

36. Plaintiff further prays that it be awarded all reasonable attorneys’ fees incurred in
prosecuting its causes of action through trial and any appeal pursuant to Sections 541.152

542.060 of the Texas lnsurance Code.

vII. QNDITIoN
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37. All conditions precedent to Plaintist right to recover have been fully performed,

or have been waived by Defendants.

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VIII- W

38. Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests
a jury trial and along with the filing of the Original Petition has tendered to the Clerk of the Court

the statutoryjury fee.

IX. DISCOVE BY REQUESTS

39. Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after
service of this request, the information or material described in Rule l94.2(a)-(l).

40. You are also requested to respond to the attached interrogatories, requests for
production and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

IX.
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WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing
of the case, Plaintiff recover all damages from and against Defendants that may reasonably be
established by a preponderance of the evidence, and that Plaintiff be awarded attorneys’ fees
through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such
other and further relief, general or special, at law or in equity, to which Plaintiff may show herself

to be justly entitled.

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Respectfully submitted,

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Texas 78217
Telephone: (210) 562-2888
Telecopier: (210) 562-2873
Email: mwhyte@whytepllc.com
Email: jsaenz@whytepllc.com

ar 74 /l»/lvt@

MARC‘. K. WHYTE /
State Bar No. 24056526

ATTORNEY FOR PLAINTIFF

10

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PLAINTIFF’S FIRST sET oF INTERRoGAToRIES,
RMESIS_FQR.RBQ]MIIQRLANJLREMESI.S.FQR.ADMMN.S

COMES NOW Plaintiff in the above-styled and numbered cause, and requests that
Defendant(s) (1) answer the following lnterrogatories separately and fully in writing under oath
within 50 days of service; (2) answer the Requests for Production separately and fully in writing
within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing
within 50 days of service; (4) serve your answers to these lnterrogatories, Requests for Production,
and Requests for Admissions on Plaintiff by and through his/her attorneys of record, Marc K.
Whyte, WHYTE PLLC, 1045 Cheever Blvd., Suite 103, San Antonio, Texas 78217; and (5)
produce all documents responsive to the Requests for Production as they are kept in the usual
course of business or organized and labeled to correspond to the categories in the requests within
50 days of service to WHYTE PLLC. You are also advised that you are under a duty to seasonably
amend your responses if you obtain information on the basis of which:

a. You know the response made was incorrect or incomplete when made; or

b. You know the response, though correct and complete when made, is no longer

true and complete, and the circumstances are such that a failure to amend the answer
in substance is misleading

DEFINITIO!§§ AND INSTR[]§§TIONS

A. These Responses call for your personal and present knowledge, as well as the present
knowledge of your attorneys, investigators and other agents, and for information
available to you and to them.

B. lf you cannot answer a particular lnterrogatory in full after exercising due diligence to
secure the information to do so, please state so and answer to the extent possible,
specifying and explaining your inability to answer the remainder and stating whatever
information or knowledge you have concerning the unanswered portion.

C. lf you claim that any document which is required to be identified or produced by you
in any response is privileged:
1. ldentify the document’s title and general subject matter;

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2. State its date;
3. ldentify all persons who participated in its preparation;
4. ldentify the persons for whom it was prepared or to whom it was sent;
5. State the nature of the privilege claimed; and
6. State in detail each and every fact upon which you base your claim for
privilege.
D. “Documents,” includes any written, recorded or graphic matter, however produced or

reproduced, of every kind regardless of where located including, but not limited to, medical
records, tax returns, earnings statements, any summary, schedule, memorandum, note,
statement, letter, telegraph, interoffice communication,report,diary, ledger, journal, log,
desk or pocket calendar or notebook, day book, appointment book, pamphlet,
periodical, worksheet, cost sheet, list, graph, chart, telephone or oral conversation, study,
analysis, transcript, minutes, accounting records, data sheet, tally or similar freight
documents, computer printout, electronic mail, computer disk, and all other memorials of
any conversations, meetings and conferences, by telephone or otherwise, and any other
writing or recording which is in your possession, custody or control or in the possession,
custody or control of any director, officer, employee, servant or agent of yours or your
attorneys. The term “documents” shall also include the files in which said documents are
maintained Electronically stored information should be produced in PDF format.

E. “You,” “Your,” “Yours”, “Defendants” and “Defendant” means all Defendants in this case.

F. ln each instance where you are asked to identify or to state the identity of a person, or Where
the answer to an lnterrogatory refers to a person, state with respect to each such person:
l. His or her name;
2. His or her last known business and residence address and telephone
number; and
3. His or her business affiliation or employment at the date of the
transaction, event or matter referred to.

G. lf you decide that one question is not simply one question and plan to object based upon
more than 25 interrogatories, you are instructed to skip that question and continue to
answer what you consider to be only one question, by answering only the first 25 alleged
single questions. By answering any one numbered question, you are hereby admitting that
one number question is in fact one question and waive any objection based upon a limit of
interrogatories

H. “Plaintiffs” and “Plaintiff’” includes all Plaintiffs, and refers to a single Plaintiff or
multiple Plaintiffs, if applicable.

“Property” means the property at issue in the lawsuit.
J. “Lawsuit” means this lawsuit.

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B

Respectfully submitted,

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Texas 78217
Telephone: (210) 562-2888
Telecopier: (210) 562-2873
Email: mwhyte@whytepllc.com
Email: jsaenz@Whytepllc.com

M 74 /l/ly?`a

'MARC K. WHYTE /
State Bar No. 24056526

ATTORNEY FOR PLAINTIFF

13

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INTERROGAT§ !RIE§ TO DEFENDAN!
TH LER L YD I ' E PA Y

1. ldentify the name, address, and role in the claim made the basis of this Lawsuit, if any,
for all persons providing information for the answers these interrogatories.

ANSWER:

2. ldentify all persons and/or entities who handled the claim made the basis of the Lawsuit
on behalf of Defendant.
ANSWER:

3. Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim

made the basis of this Lawsuit under either the policy or the Texas lnsurance Code, and,
if so, describe how the notice was deficient, and identify any resulting prejudice caused to
Defendant.

ANSWER:

4. Does Defendant claim that Plaintiff(s) failed to mitigate his or her damages‘? If so,
describe how Plaintiff failed to do so, identifying any resulting prejudice caused to
Defendant.

ANSWER:

5. Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
documents and/or information? If so, identify all requests to which Plaintiff(s) did not
respond and state whether you denied any portion of the claim based on Plaintiff’s(s’)
failure to respond.

ANSWER:

6. At the time the claim made the basis of this Lawsuit was investigated and the Property
inspected (and prior to anticipation of litigation), describe all damage attributable to the
storm observed at the Property by Defendant or any persons or entities on behalf of
Defendant.

ANSWER:
7. ldentify all exclusions under the Policy applied to the claim made the basis of this
Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon to

apply that exclusion.

ANSWER:

14

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10.

ll.

12.

13.

14.

15.

Describe how Defendant determined whether overhead and profit (“O&P”) should be
applied to the claim made the basis of this Lawsuit, identifying the criteria for that
determination.

ANSWER:

ldentify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

ANSWER:

To the extent Defendant utilized an estimating software program and modified the
manufacturer’s settings with respect to Plaintiffs’ claim, identify those modifications.

ANSWER:

State whether Defendant applied depreciation to the tear off of the damaged roof and/or
other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
that depreciation and the applicable policy section under which the tear off was paid
under.

ANSWER:

ldentify all price lists used to prepare all estimates on the claim made the basis of this
Lawsuit, stating the manufacturer, version, date and geographical area.

ANSWER:

To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
the basis of lawsuit wrongly included or excluded any item or payment. If so, identify
each item or payment and state whether it should have been included or excluded from
the estimates prepared on the claim made the basis this Lawsuit.

ANSWER:

To the extent Defendant is aware, state any violations of Texas lnsurance Code Section
541 that were discovered on this claim during the claims handling process

ANSWER:

To the extent Defendant is aware, state any violations of Texas lnsurance Code Section
542 that were discovered on this claim during the claims handling process

ANSWER:

15

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To the extent Defendant is aware, state any violations of the requirements or obligations
owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
were discovered during the claims handling process

ANSWER:
State the date Defendant first anticipated litigation.
ANSWER:

State every basis, in fact and in the terms of Plaintiff’s policy, for Defendant’s(s’) denial
or partial denial and/or recommendation of denial or partial denial of Plaintist claim(s).

ANSWER:

ldentify every other insurance claim (by name, address and telephone no. of the insured)
made for property damage in the same city/town as the commercial building at issue in this
case, and stemming from the same storm, which claim was paid in part or whole. This is
limited to within 5 miles of Plaintiff’s(s’) insured property.

ANSWER:

ldentify anyone who recommended payment on Plaintiff’ s claim(s), and if so, state what
amount(s).

ANSWER:

Give the name, address and telephone number of all persons making a claim with you for
property damage for the same MAY 24, 2011 as Plaintiff’ s claim, This request is limited
to persons who live within a 5 mile radius of Plaintiff"s insured commercial property.
ANSWER:

List all of your approved or preferred engineers, third party adjusters/adjusting
companies, roofers and contractors, for windstorm claims in Texas from one year prior to

the MAY 24, 2011 at issue to date.

ANSWER:

16

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RE§ !UEST§ FOR PRQDUCTION TO DEFENDANT
TH T ER YD Y

1. The following insurance documents issued for the Property as identified in the Petition:
a. the policy at issue for the MAY 24, 2011 as identified in the Petition; and
b. the policy declarations page for the 3 years preceding the storm.

RESPONSE:

2. Produce underwriting files and documents relating to the underwriting for all insurance
policies for the Property at issue. This request is limited to the past 5 years To the extent
Defendant contends that the underwriting file or documents older than 5 years impact the
damages or coverage, produce that underwriting file or document.

RESPONSE:

3. All documents relating to the condition or damages of the Property or any insurance
claim on the Property,

RESPONSE:

4. All documents relating to any real property insurance claims made by the Plaintiff(s).
This request is limited to the past 5 years To the extent Defendant contends that
documents older than 5 years impact the damages or coverage, produce that document.

RESPONSE:

5. All requests for information to any third party about the Property, the Plaintiff(s), or the
claims made the basis of this Lawsuit.
RESPONSE:

6. All documents used to instruct, advise, guide, inform, educate, or assist provided to any

person handling the claim made the basis of this Lawsuit that related to the adjustment of
this type of claim, i.e., hail property damage.

RESPONSE:

7. All documents obtained from any person(s) or entity(ies) and governmental agencies on
behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the Policy,
or the claims made the basis of this Lawsuit. This request includes all documents

obtained by way of deposition on written questions

RESPONSE:

17

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13.

All documents received (prior to litigation) directly or indirectly from Plaintiff(s) or
created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
is limited to the past 5 years To the extent Defendant contends that any document older
than 5 years impact the damages or coverage, produce that document.

RESPONSE:

Produce a copy of all price lists used to prepare any estimates for the claim made the
basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third party,
you can reference the vendor and version of the pricelist with a stipulation that it is
unmodified.

RESPONSE:

To the extent Defendant created or altered any prices used in the preparation of an
estimate in the claim made the basis of this Lawsuit, produce all documents related to the
creation or alteration of the price, including the original price for that item and the factual
bases for the creation or alteration.

RESPONSE:

A complete copy the personnel file related to performance (excluding medical and
retirement information) for all people and their managers and/or supervisors who directly
handled the claim made the basis of this Lawsuit, including all documents relating to
applications for employment, former and current resumes, last known address, job title, job
descriptions, reviews, evaluations, and all drafts or versions of requested documents This
request is limited to the past 5 years

RESPONSE:

All organizational charts, diagrams, lists, an/or documents reflecting each department,
division or section of Defendant’s company to which the claim made the basis of this
Lawsuit was assigned

RESPONSE:

All Texas insurance licenses and/or certifications in effect at the time of the claims
arising out of the storms at issue for all persons who worked on the claim made the basis
of this Lawsuit, including any document relating to the application, issuance or review of
those licenses and/or certifications This request excludes those who performed merely
ministerial acts, i.e. people who answer phones, file clerks whose only job duty is to
stamp “received,” etc.

RESPONSE:

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lf an engineer and/or engineering firm evaluated the Property, produce all reports written
at the request of Defendant by that engineer or engineering firm within the last 5 years
This request is limited to the extent that the engineer and/or engineering firm was used
during claims handling.

RESPONSE:

Produce all documents showing amounts billed and paid to any engineer and/or
engineering firm identified in response to Request for Production above within the last three
years A summary is acceptable in lieu of actual invoices or payments

RESPONSE:

All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
made the basis of this Lawsuit, including any changes to the reserve(s) along with any
supporting documentation

RESPONSE:

All documents relating to issues of honesty, criminal actions, past criminal record,
criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
the basis of this Lawsuit.

RESPONSE:

All documents relating to work performance, claims patterns, claims problems,
commendations, claims trends, claims recognitions, and/or concerns for any person who
handled the claim made the basis of this Lawsuit.

RESPONSE:

All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
on this Policy and/or referencing any person who handled the claim made the basis of this
Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
claimed by Plaintiff(s).

RESPONSE:

Any email or document that transmits, discusses, or analyzes any report produced in
response to the Request for Production immediately above.

RESPONSE:

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All Simsol Management reports that include this claim in any way, this Policy, the
amount paid on this Policy and/or referencing any person who handled the claim made
the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
county of suit on or about the MAY 24, 2011 claimed by Plaintiff(s).

RESPONSE:

Any email or document that transmits, discusses, or analyzes any report produced in
response to the Request for Production immediately above.

RESPONSE:

For any consulting expert whose mental impressions or opinions have been reviewed by a
testifying expert: all documents or tangible things that have been provided to, reviewed
by, or prepared for the testifying expert.

RESPONSE:

Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
of a crime which you intend to use as evidence to impeach any party or witness

RESPONSE:

All indemnity agreements in effect at the time of Plaintiffs’ claim between Defendant and
any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

RESPONSE:

All contracts in effect at the time of Plaintiffs’ claim between Defendant and any
person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

RESPONSE:

All confidentiality agreements and/or instructions regarding confidentiality in effect at
the time of Plaintiffs’ claim between Defendant and any person(s) and/or entity(ies) who
the claim made the basis of the Lawsuit.

RESPONSE:

All documents between Defendant and any person(s) and/or entity(ies) who handled the
claim made the basis of the Lawsuit regarding document retention policy in effect at the

time of Plaintiffs’ claim,

RESPONSE:

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29. To the extent the claim involves rescinding of the policy, all documents regarding
Defendant’s standards for investigating and rescinding and/or voiding a policy.

RESPONSE:
30. A List of all of your approved or preferred engineers, third party adjusters/adjusting
companies, roofers and contractors, for windstorm claims in Texas from one year prior to

the MAY 24, 2011 at issue to date.

ANSWER:

21

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IT T ED B

ldentify all email accounts, email addresses, and/or any alias or code used to identify you and
used for any communication relating to your work handling storm claims arising out of the
storm(s) at issue in this Lawsuit. This request is limited only to the carrier of the claim that is
the subject of this Lawsuit.

RESPONSE:

ldentify generally the training or experience you had in adjusting hail and/or windstorm
damage and any specific training you had for this storm prior to your handling of claim made
the basis of this Lawsuit.

RESPONSE:

ldentify any degrees, Texas insurance licenses (unless you qualified for adjusting claims in
Texas on an emergency basis, then list any insurance licenses you held from other states) or
certifications you had at the time you handled the claim made the basis of this Lawsuit.

RESPONSE:

Explain how you were compensated and by whom for your work on claims arising out of the
storm(s) at issue in this Lawsuit., stating the amount you were compensated per claim, per day,
and/or per week and identifying any bonus or incentive plans To the extent the produced
personnel file includes a compensation schedule, you may refer to such personnel file.

RESPONSE:
State whether you are fluent in Spanish and whether you had any communication relating to
the claim made the basis of this Lawsuit in Spanish. If you are not fluent in Spanish, state

whether you are proficient in Spanish to communicate to adjust a claim.

RESPON SE:

22

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6. ldentify the following dates:

a. The date you first obtained an adjuster license in the State of Texas;

b. The first date you were hired/retained by the insurance company defendant or any
other defendant in this Lawsuit to adjust property damage claims;

c. The date you were first assigned to claims arising out of the storm(s) at issue in this
Lawsuit.;

d. The date you closed your file on the claim made the basis of this Lawsuit; and

e. The last date you worked on any claims arising out of the storm(s) at issue in this
Lawsuit.

RESPONSE:
7. Describe in detail each inspection you conducted of the Property made the basis of this

Lawsuit, identifying:

a. The name and job title of any person who inspected the Property with you;
b. The date of each inspection;
c. The purpose of each inspection;
d. The length of time of each inspection;
e. The equipment or tools used during each inspection;
f. The areas of the Property inspected (i.e. roof, attic, individual rooms, exterior); and
g. Any documents generated during or as a result of each inspection, including the
persons and/or entities in possession of those documents
RESPONSE:

8. Following the inspection(s), did You engage in any additional communications (e.g.,
telephone, in person, written communication) with Plaintiff(s)? lf yes, provide the following
information:

a. the date of such communication(s);
b. the manner of such communication(s);
c. the person to whom You communicated;
d. the reason for the communication(s);
e. for any telephonic communication(s), identify who initiated the phone call, and the
telephone number from which you called or on which you received the call; and
f. the general substance of the communication.
RESPONSE:

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ldentify and describe all damage you observed during your inspection(s) of the claim made
the basis of this Lawsuit. To the extent the damage you observed during your inspection is
reflected in scope notes and photographs you can refer Plaintiffs to such scope notes and/or
photographs

RESPONSE:

For all damage observed at the Property or reflected in your scope notes and/or photographs,
state what your believe to be the cause of the damage, describing the investigatory steps you
took to determine the cause, and identify all person(s) and/or entity(ies) that provided
information or participated in that determination.

RESPONSE:

To the extent you applied or recommended policy exclusions, identify all exclusions under
the Policy applied to the claim made the basis of this Lawsuit, and for each exclusion applied
or recommended, state the factual reason(s) that the exclusion was applied or recommended.

RESPONSE:

ldentify the information you used to determine and how you calculated the amount of
depreciation that you applied to any damage categories included in any estimates you
prepared and/or approved on the claim made the basis of this Lawsuit.

RESPONSE:

How did you determine whether you would or would not apply overhead and profit (O&P) to
Plaintiffs’ claim?

RESPONSE:

ldentify all documents that you relied upon in the adjustment of the claim made the basis of
this Lawsuit. For each document, identify who provided the document.

RESPONSE:

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ldentify all documents or information you requested from Plaintiff during the investigation of
the claim made the basis of this Lawsuit, the date the request was made, the person who
communicated the request, and the Plaintiff(s) who received the request.

RESPONSE:

ldentify all documents or items in your possession related to the claim made the basis of this
Lawsuit that you did not submit to the insurance company and/or adjusting company
assigned to this claim.

RESPONSE:

To the extent you are aware, identify all documents or items that were altered, revised,
changed or removed from the documents or information you provided the insurance company
or adjusting company relating to the claim made the basis of this Lawsuit.

RESPONSE:
ldentify and describe any training, guidance or instruction provided to you by any person
and/or entity regarding the handling of claims arising out of the storm(s) at issue in this

Lawsuit.

RESPONSE:

25

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E E PR T T FE DA Y

l . All documents related to Plaintiff(s), the Property, the Policy, and/or the claim made the
basis of this Lawsuit.

RESPONSE:

2. All licenses or certifications that are identified in response to lnterrogatory Number 3.
RESPONSE:

3. All training documents you have for adjusting hail and/or windstorm claims This request

is limited to the past 2 years
RESPONSE:
4. All applications you submitted (or submitted on your behalf) for purposes of obtaining a

license to adjust claims in the State of Texas that were in effect at the time of the
storm(s) at issue in this Lawsuit..

RESPONSE:
5. All resumes for the last five (5) years
RESPONSE:
6. All applications for employment you submitted for purposes of obtaining employment as

an adjuster and/or claims handler in the State of Texas. This request is limited to the five
(5) years preceding the storm(s) at issue in this Lawsuit.

RESPONSE:

7. All documents you relied upon in the adjustment of the claim made the basis of this
Lawsuit.

RESPONSE:

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14.

To the extent you made a determination or recommendation regarding depreciation, all
documents relating to the application of depreciation on a commercial property claim in the
State of Texas for the past two (2) years

RESPONSE:

To the extent you made a determination or recommendation regarding overhead and
profit, all documents relating to the application of overhead and profit on a commercial
owners property claim in the State of Texas for the past two (2) years

RESPONSE:

All documents or items in your possession related to the claim made the basis of this
Lawsuit that you did not submit to the insurance company and/or adjusting company
assigned to this claim.

RESPONSE:

All documents meant to instruct, advise, or guide the handling or adjusting hail and/or
windstorm claims in the State of Texas for the last 2 years

RESPONSE:

All training manuals in effect at the time of Plaintiffs’ claim used for software programs
utilized in the claim made the basis of this lawsuit.

RESPONSE:

All documents relating to any performance reviews or evaluations by the carrier of the
underlying claim, whether formal or informal, regarding your handling of claims arising
out of the storm(s) at issue in this Lawsuit.

RESPONSE:

All documents relating to any Texas Department of lnsurance complaints made against
you by an insured related to claims arising out of the storm(s) at issue in this Lawsuit.

RESPONSE:

27

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18.

All contracts, indemnity agreements and/or confidentiality agreements between you and
the adjusting company and/or insurance company in effect during the handling of claims
arising out of the storm(s) at issue in this Lawsuit.

RESPONSE:

All price lists used by you in handling claims arising out of the claims arising out of the
storm(s) at issue in this Lawsuit. To the extent the pricelist is an unmodified pricelist
from a third party, you can reference the vendor and version of the pricelist with a
stipulation that it is unmodified.

RESPONSE:

All weather reports regarding wind and/or hail relied upon by you in handling claims
arising out of the claims arising out of the storm(s) at issue in this Lawsuit.

RESPONSE:

All correspondence to or from the adjusting company and/or the insurance company that
issued the policy regarding modifying/modifications to the unit price cost and the price
list you used in handling claims arising out of the storm(s) at issue in this Lawsuit.

RESPONSE:

28

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FIRST SET OF RE§ !UES'I`S FOR ADMISSIONS TO

THE T LER YDS I RAN E MPANY
ANLBRXAMNE§

RE U T FOR ADMI IO 1. Admit you committed statutory bad faith in adjusting
Plaintiff’ s claim.
RESPONSE:
BE;Q!]E§T EQB A|QM |§§I§ !N EQ, 2. Admit you committed common law bad faith in
adjusting Plaintiff’ s claim,
RES|’ON SE:
W. Admit you breached the insurance agreement by failing
to pay the full amount owed there under.
RESPONSE:
W. Admit you breached the insurance agreement by failing
to pay the full amount owed there under on a timely basis
RESPONSE:
ME§BAD_M_IS§IQMQ_§. Admit you breached the Texas Prompt Payment Act by

failing to pay the full amount owed under the policy in a timely fashion.

RESPONSE:

29

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By:

Respectfully submitted,

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Texas 78217
Telephone: (210) 562-2888
Telecopier: (210) 562-2873
Email: mwhyte@whytepllc.com
Email: jsaenz@whytepllc.com

WH /Myia

 

MARC K WHYTE
State Bar No. 24056526

ATTORNEY FOR PLAINTlFF

30

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Exhibit A- -b

PagelD 53

 

14“‘ JUDICIAL DISTRICT COURT
GEoRGE L. ALLEN coURTs BUILDING
600 coMMERCE sTREET
DALLAS, TExAs 75202-4604

July 22, 2016
FILE COPY

DC- 1 6-07283
ROCKBROOK REALTY, LTD. (10561 GOODNIGHT LANE) vs THE TRAVELERS LLOYDS
INSURANCE COMPANY, et al

ALL COUNSEL OF RECORD AND PRO SE PARTIES:

The above case is set for dismissal, pursuant to Rule 165A, Texas Rules of Civil procedure and pursuant
to the inherent power of the Court, on:

August 26, 2016 at 11:00 AM

lf no answer has been filed you are expected to have moved for a default judgment on or prior to that
date. Your failure to have done so will result in the dismissal of the case on the above date.

lf you have been unable to obtain service of process and you wish to retain the case on the docket, you
must appear on the above date, unless you have obtained a new setting from the court coordinator.

Sincerely,

ERIC V. MOYE, DISTRICT JUDGE
14“‘ DISTRICT COURT
Dallas County, Texas
Cc:
MARC K WHYTE
112 EAST PECAN SUITE 2750
SAN ANTONIO TX 7 8205

 

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Exhibit A-3-C

F|LED
DALLAS COUNTY

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CAUSE NO. DC-l 6-07283

ROCKBROOK REALTY, LTD.
(10561 GOODNIGHT LANE),

IN THE DISTRICT COURT OF

Plaintiff,
vs DALLAS COUNTY, TEXAS

THE TRAVELERS LLOYDS INSURANCE
COMPANY AND BRYAN JONES,

OOOBO'J<¢O¢GO'>CO'>OO'JOO'>OO'>QO'>CO'><O°

Defendants 14TH JUDICIAL DlSTRlCT

DEFENDANTS’ ANSWER TO
PLAINTIFF’S ORIGINAL PETITION

Defendants The Travelers Lloyds lnsurance Company and Bryan Jones (“Defendants”)
file the following Answer to Plaintiff Rockbrook Realty, Ltd.’s (“Plaintiff”) Original Petition and
state:

I.
GENERAL DENIAL

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally deny
each and every allegation contained in Plaintiff"s Original Petition and demands strict proof
thereof. By this general denial, Defendants specifically demand that Plaintiff prove every fact in
support of its claims for breach of contract, alleged violations of the Texas lnsurance Code, and
alleged violations of the Texas Deceptive Trade Practices Act by a preponderance of the
evidence. By this general denial, Defendants further demand that Plaintiff prove every fact in

support of its claim(s) for exemplary damages by clear and convincing evidence.

 

DEFENDANTS’ ANSWER To PLAINTIFF’s ORIGINAL PETITION Page 1

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D|STRICT CLERK

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II.
SPECIAL DENIAL

Defendants deny that Plaintiff has satisfied all conditions precedent to the recovery it
now seeks under Texas statute, Texas law, and/or The Travelers Lloyds lnsurance Company
(“Travelers”) policy number ILPACP-2071B937 (“Policy”). For example, to recover under the
Policy and/or Texas law, Plaintiff must provide Travelers prompt notice of the physical loss or
damage made the basis of its insurance claim and promptly provide Travelers all reasonably
requested documentation and/or information necessary for Travelers to investigate and evaluate
such alleged loss and/or damage. Plaintiff failed to satisfy these conditions thereby precluding it
from recovering on its claims for relief in this matter.

Discovery in this matter is ongoing and Defendants reserve the right to assert that
Plaintiff has failed to meet other conditions precedent set forth under the Policy, Texas statute,
and/or Texas law as this litigation proceeds

III.
AFFIRMATIVE DEFENSES

Pursuant to Rule 94 of the Texas Rules of Civil Procedure, Defendants sets forth the
following affirmative defenses to the allegations in PlaintifPs Original Petition:

l. Plaintist claims are barred, in whole or in part, because the allegations in
Plaintiff’ s Original Petition fail to state a claim upon which relief can be granted.

2. Plaintiff’s claims are subject to all of the terms conditions limitations and
exclusions contained in the Policy, including (without limitation) the Policy’s provision(s) and/or
limitation(s) regarding (a) loss or damage to the interior of any building or structure or to

personal property in the building or structure, caused by rain, snow, sleet or ice whether driven

 

DEFENDANTS’ ANSWER To PLAINTIFF’s ORlGINAL PETlTIoN Page 2

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by wind or not, (b) the valuation of covered property in the event of loss or damage, and (c)
payment for loss or damage covered by the Policy.

3. Plaintiff’s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff did not occur during the applicable policy period (as required by the
Policy).

4. Plaintist claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was not caused by (or did not result from) a covered cause of loss
(as required by the Policy).

5. Plaintist claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from wear and tear.

6. Plaintiff’s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from rust, corrosion, decay, deterioration,
latent defect, or any quality in property that caused it to damage or destroy itself.

7. Plaintiff’ s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from settling, cracking, shrinking, or
expansion.

8. Plaintiff" s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from faulty, inadequate or defective
design, specifications workmanship, repair, construction, renovation, remodeling, grading, or
compaction of part or all of any property on or off the described premises

9. PlaintifF s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from faulty, inadequate or defective

materials used in the repair, construction, renovation or remodeling of part or all of any property

 

DEFENDANTS’ ANSWER To PLAINTIFF’S ORIGINAL PETITION Page 3

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on or off the described premises

10. Plaintiff’s claims are barred, in whole or in part, to the extent the physical loss or
damage claimed by Plaintiff was caused by or resulted from faulty, inadequate or defective
maintenance of part or all of any property on or off the described premises

1 1. Plaintist claims are barred, in whole or in part, by the Policy’s exclusion for loss
or damage caused by or resulting from continuous or repeated seepage or leakage of water, or the
presence or condensation of humidity, moisture or vapor that occurs over a period of 14 days or
more.

12. Plaintiff’s claims are barred, in whole or in part, to the extent of Defendant’s prior
payment(s) under the Policy, and Plaintist recovery under the Policy (if any) must be offset and
reduced accordingly.

13. Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s neglect to use all
reasonable means to save and preserve the property from further damage at and after the time of
loss

14. Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s alleged
damages were caused, in whole or in part, by the negligent acts and/or omissions of Plaintiff.

15. Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s alleged
damages were caused, in whole or in part, by the negligent acts and/or omissions of third parties
over whom Defendants have and/or had no control.

16. Plaintiff’ s claims are barred, in whole or in part, by the doctrines of laches
estoppel, waiver, release, unclean hands unjust enrichment, and accord and satisfaction.

17. A bona fide controversy exists concerning the extent of Plaintiff’s entitlement to

benefits under the Policy. Defendant Travelers and/or its employees agents representatives and

 

DEFENDANTS’ ANSWER To PLAlNTlFF’S ORIGINAL PETITION Page 4

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adjusters are entitled to value claims differently from Plaintiff without facing bad faith or extra-
contractual liability. Defendants would show that a bona fide controversy exists regarding (a) the
existence and/or scope of any covered loss or damage, (b) whether and to what extent any
asserted loss or damage was the result of a covered occurrence (or occurrences), (c) the
reasonable and necessary measures to repair any covered loss or damage, and (d) the reasonable
and necessary measures to repair any covered loss or damage.

18. Plaintiff’s claim for exemplary damages is unconstitutional and violates the due
process clauses of the Fifth and Fourteenth Amendments to the United States Constitution and of
Article l, Section 19 of the Texas Constitution for the following reasons: (a) the standards under
which such claims are submitted are so vague as to be effectively meaningless and threaten a
deprivation of property for the benefit of society without the protection of fundamentally fair
procedures; (b) the highly penal nature of exemplary damages threatens the possibility of
excessive punishment and almost limitless liability without the benefit of fundamentally fair
procedures or any statutory limitations (c) the introduction of evidence of Defendants’ financial
worth is so prejudicial as to impose liability and punishment in a manner bearing no relation to
the extent of any injury allegedly inflicted or to any benefit to Defendants from any alleged
wrongdoing and, therefore, any verdict would be the result of bias and prejudice in a
fundamentally unfair manner.

19. Plaintiff` s claim for exemplary damages constitutes an unconstitutional excessive
fine under Article l, Section 13 of the Texas Constitution because such highly penal sanctions
may be imposed for the benefit of society under standards so vague and effectively meaningless
as to threaten unlimited punishment bearing no relation to the extent of any injury allegedly

inflicted at the unbridled discretion of thejury.

 

DEFENDANTS’ ANSWER To PLAINTIFF’s ORIGINAL PETITIoN Page 5

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20. Because discovery in this matter is ongoing, Defendants expressly reserve the
right to assert additional affirmative defenses as this litigation proceeds

IV.
RESERVATION OF RIGHTS

By appearing and answering herein, Defendants do not waive, and expressly reserve, all
rights and defenses that Defendants may have (or that may arise) under the Policy and/or
applicable law. Nothing herein shall constitute or be deemed a waiver of, or an estoppel to assert,
any of the rights and defenses that Defendants may have or that may arise under the Policy
and/or applicable law

V.
PRAYER

Defendants pray that (a) Plaintiff’s claims for relief be denied in their entirety, (b)
Plaintiff take nothing by way of this lawsuit, and (c) Defendants be granted such other and

further relief to which they may be justly entitled.

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S ORIGINAL PETITION Page 6

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Respectfully submitted,

ZELLE LLP

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ATTORNEYS FOR DEFENDANTS

CERTIFICATE OF SERVICE
This is to certify that a true and correct copy of the foregoing has been served on August

8, 2016 in accordance with the Texas Rules of Civil Procedure as follows:

Marc K. Whyte

WHYTE PLLC

1045 Cheever Boulevard, Suite 103
San Antonio, texas 78217
Telephone: (210) 562-2888
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E-l\/Iail: jsaenz@whytepllc.com
Attorney for Plaintiff

/s/James W. Holbrook, 111
James W. Holbrook, 111

 

DEFENDANTS’ ANSWER To PLAINTIFF’S ORIGINAL PETITION Page 7
4821-6318-8278v1

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Exhibit A-3-d

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14“' DIsTRIcT COURT
GEoR.GE L. ALLEN, sR. coURTs BUILI)ING
500 coMMERcE sTREET, s“' FLooR
DALLAS, TExAs 75202-4606
chambers orJuDGE ERIC v. MoYE

August 9, 2016

JAMES HOLBROOK
901 MAIN ST., STE. 4000
DALLAS, TX 75202-3975

RE: DC-16-07283-A ROCKBROOK REALTY, LTD. (10561 GOODNIGHT LANE) v.
THE TRAVELLERS LLOYDS INSURANCE COMPANY, et al

ALL COUNSEL OF RECORD AND PRO SE PARTIES:
Please take note of the following settings:

(1) Jury trn;i: JUNE 13, 2017 @ 9:30 A.M.
(2) Non-Jury trial:

'l`HIS IS A LEVEL 3 CASE. THE PARTIES SHOULI) PREPARE THEIR OWN
ACREED SCHEDULING ORDER (WHICI'| MUST lNCLUI)E A MEI)IA'|`OR) AND
SU BM!'I` IT TO THE COURT WI']`I'IIN 30 DAYS Oli` 'I`IIIS NOTI CE. IF NO
AGREEMENT IS REACHED, PLEASE ADVISE. THE COURT.

Trial announcements must be made in accordance With Rule 3.02, Dallas Civil Court
Rules.

When no announcement is made for defendant, defendant will be presumed ready. If
plaintiff'fails to announce or to appear at trial, the case will be dismissed for want of
prosecution in accordance with Rule 165a, Texas Rules of Civil Procedure.

Plaintiff/Plaintiff’s counsel shall serve a copy of this notice on any currently named
defendant(s) answering after this date.

Sincerely,

 

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ERIC v. MOYE
DiSTRIcT JUDGE
14THl DISTRICT COURT

 

Scheduling order format available: www.dallascounty.org

